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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,
                                                Case No. 3:23-cv-00459-vc
                       Plaintiffs,
                                                JOINT STATUS REPORT
       v.
                                                Date:        October 20, 2023
Kroger Co., Albertsons Companies, Inc. and      Time:        10:00 a.m.
Cerberus Capital Management, L.P.,              Judge:       Hon. Vince Chhabria

                       Defendants.
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       On August 4, 2023, the Court ordered the parties to file a Joint Status Report by October

13, 2023, in advance of the status conference scheduled for October 20, 2023 at 10:00 am. ECF

No. 92. In accordance with that order, the parties submit the below report.

PLAINTIFFS’ POSITION

       This is a private antitrust action, brought under Section 16 of the Clayton Antitrust Act to

prohibit the acquisition of Albertsons by Kroger. Plaintiffs filed their original Complaint on

February 2, 2023 and filed their First Amended Complaint on October 2, 2023.

                           Plaintiffs Proposed Schedule of Adjudication

       The acquisition will be consummated on January 13, 2024. Plaintiffs therefore propose

and request that the Court set a trial date during the week of December 18 - 22, 2023.

       Defendants have produced their Hart-Scott-Rodino documents to the government.

Plaintiffs request that these documents be provided to Plaintiffs by October 23, 2023, subject to

the protective order already entered in the case.

       The following four depositions of Defendants’ officers can be taken in five days during the

week of November 6 – 10, 2023.

   1. Rodney McMullen, Kroger Chairman and Chief Executive Officer, who will continue

       serving as Chairman and CEO of the combined company.

   2. Vivek Sankaran, CEO of Albertsons Companies.

   3. The Executive Vice-Presidents in charge of marketing and sales for each company.

       The depositions of the Plaintiffs can be taken during the week of November 13 – 17, 2023.

       Expert reports shall be exchanged during the week of November 27 – December 1, 2023.

       Expert depositions shall be completed during the week of December 4 – 8, 2023.

       Trial will take place between December 18 – 22, 2023.




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       The trial issues are: 1) Whether the acquisition may lessen competition; 2) in any section

of the country; 3) whether any Plaintiff is threatened with injury or damage by reason of the

prospective acquisition; 4) whether the acquisition should be enjoined in its incipiency; 5) whether

any post acquisition evidence is entitled to little or no weight.

       Although the Court only asked for scheduling, the Defendants have gone beyond and have,

in effect, argued their motion to dismiss and have offered extraneous evidence to support their

position.

       However, Plaintiffs have had no discovery to date and have not even had access to the Hart

Scott Rodino documents.

       Under Rule 12(d) of the Federal Rules of Civil Procedure and under Rule 56 (d)(2)

Plaintiffs should be given a reasonable opportunity to present all the material facts pertinent to the

motion if extraneous facts are offered.

       In addition, and contrary to Defendants’ position, Plaintiffs believe that disgorgement is

in fact a legal remedy available to private plaintiffs under Section 16 of the Clayton Act and also

by reason of the decision by the Supreme Court in California v. American Stores Co., 495 U.S.

271 (1990) in which the Court specifically stated that the Plaintiffs would be entitled to all

equitable relief, including mandatory injunctive relief. In American Stores, the Court approved

divesture after the fact. The cases cited in the Supreme Court’s decision in American Stores

received injunctive relief after the fact. Section 16 allows the broadest possible use of injunctive

relief. The injunction can be mandatory as well as prohibitory. In fact, Defendants’ authority that

disgorgement is not the law does not actually deal with disgorgement, but rather deals with

restitution. Plaintiffs believe, therefore, that the dividend which was paid should in fact be

disgorged and paid back to Albertson.




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         And Defendants’ reliance upon post-merger conduct of divestiture of stores is either

irrelevant or given little weight because it is often engineered for litigation purposes. As Judge

Posner stated in Hospital Corporation of America v. FTC, 807 F.2d 1381, 1384 (7th Cir. 1986),

“We agree with the Commission that it was not required to take account of a post-acquisition

transaction that may have been made to improve Hospital Corporation's litigating position. . . Post-

acquisition evidence that is subject to manipulation by the party seeking to use it is entitled to little

or no weight. [Citation Omitted.] The Commission was entitled to give it no weight in this case . .

. ”1

         And in response to the Defendants’ apparent position that Plaintiffs are required to show

threatened injury in ALL the sections of the country, the federal courts have ruled that only one

plaintiff seeking an injunction is necessary to carry the claim in ANY section of the country.

According to Judge Young who ruled at the hearing on the Defendants’ Motion for Summary

Judgment in the District of Massachusetts in the pending merger case of Garavanian v. JetBlue

Airways Corp, et al., 23-cv-10678 (D Mass October 4, 2023): “You only have to have one

[Plaintiff].” Judge Young granted in part and denied in part the JetBlue Motion for Summary

Judgment. This is consistent with the statute itself that specifically recites “in any section of the

country” and it is consistent with the holding in State of Hawaii v. Standard Oil, 405 U.S. 251

(1972), in which the Supreme Court ruled in effect that one injunction on behalf of one plaintiff is

as good as a hundred.




1
    Hospital Corporation of America v. FTC, 807 F.2d 1381, 1384 (7th Cir. 1986).




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DEFENDANTS’ POSITION

       A.      Report on Factual Developments Related to the Kroger-Albertsons
               Transaction

       At the July 27, 2023 hearing, Kroger informed the Court that the Federal Trade

Commission’s (“FTC’s”) review of Kroger’s proposed acquisition of Albertsons was ongoing,

Kroger and Albertsons were continuing to respond to the FTC’s Second Request, and Kroger

remained in negotiations with potential divestiture buyers. Transcript of Proceedings at 6, 9

(“MTD Hearing”) (ECF No. 90). At that hearing and in its order dismissing Plaintiffs’ Complaint,

the Court requested an update on the “status of the merger” and the FTC’s review process in

October 2023. Order Granting Motions to Dismiss and Denying Motion for a Preliminary

Injunction at 3 (“Order”) (ECF No. 91); MTD Hearing at 13, 15.

       As of this date, the FTC’s review process remains ongoing. Kroger and Albertsons have

not yet certified substantial compliance with the Second Request. On September 8, 2023, Kroger

and Albertsons announced that they had entered into a divestiture agreement with C&S Wholesale

Grocers, LLC (“C&S”) for the sale of 413 stores, eight distribution centers and two offices, the

QFC, Mariano’s and Carrs brand names, a license to the Albertsons banners in four states, and

certain private label brands. See Press Release, Kroger, Kroger and Albertsons Companies

Announce Comprehensive Divestiture Plan with C&S Wholesale Grocers, LLC in Connection

with Proposed Merger (Sept. 8, 2023), https://bitly.ws/WuvK. The agreement allows Kroger to

require C&S to purchase, in connection with securing FTC and other governmental clearance, up

to an additional 237 stores. The divestiture proposal has been presented to the FTC and state

attorneys general. Their review of this divestiture proposal is ongoing and the contours of the

divestiture remain subject to change.




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        Contrary to Plaintiffs’ allegations, see Amended Complaint ¶ 28 (ECF No. 93), having

heard nothing from Plaintiffs’ counsel following the announcement of the agreement with C&S,

Kroger’s counsel notified Plaintiffs about the divestiture proposal and offered to provide Plaintiffs

with information about divested stores relevant to the Plaintiffs. Rather than responding and

actually analyzing the effect of the proposed divestitures on their individual claims (or asking the

Court for more time to do so, see Order at 3), Plaintiffs filed an amended complaint that effectively

ignores the divestiture entirely. See Am. Compl. ¶ 30 (arguing that the divestiture agreement is

“not relevant to this case”). 2

        B.       Report on Defendants’ Legal Position

        Like the Complaint, the Amended Complaint fails to state a claim against Defendants. The

Court dismissed Plaintiffs’ Complaint for lack of Article III standing and, alternatively, on ripeness

grounds. Order at 1-2. Because Plaintiffs lacked standing, the Court did not need to address the

merits of their claims in dismissing the Complaint, but it made abundantly clear that Plaintiffs

“ha[d] not come close to doing the work that [they] need[ed] to do to state a claim.” MTD Hearing

at 24-25; see also id. at 26-27, 29. The Court granted Plaintiffs leave to amend their complaint,

advising Plaintiffs that they would need to “roll up [their] sleeves” and “do a lot more work than

you’ve done” to state an antitrust claim. Id. at 27. Plaintiffs have not done that work.

        Accordingly, to the extent re-briefing would be helpful to the Court, Defendants intend to

move to dismiss the Amended Complaint with prejudice on all the same grounds that they moved

to dismiss the Complaint: Plaintiffs lack Article III standing, their claims are not ripe, and they fail

to adequately plead the elements of an antitrust violation.

2
  Notwithstanding Plaintiffs’ false representation that Defendants “refused to identify specific
stores and locations that will be divested to C&S,” Am. Compl. ¶ 28, on October 9, 2023,
Defendants provided Plaintiffs with a list of the stores in the proposed divestiture package that are
within 20 miles of the center of any city in which a named Plaintiff lives.



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       Standing.    The Amended Complaint again fails to adequately allege the imminent,

particularized harm necessary to establish Article III standing. See Spokeo, Inc. v. Robins, 578

U.S. 330, 341 (2016). Plaintiffs still “make no effort to explain how the merger would affect any

one of them personally, in the area where they live and shop for groceries.” MTD Order at 1.

Rather, Plaintiffs continue to confuse statutory language with constitutional requirements,

asserting that they can establish standing requirements by vaguely alleging potential competitive

harm in areas where they do not live and have never shopped for groceries. See, e.g., Am. Compl.

¶ 109 (alleging that, for “standing in a Section 7 case a plaintiff need only show that the effect of

the merger ‘may be substantially to lessen competition … in any line of commerce … in any

section of the country’” (quoting 15 U.S.C. § 18)). Accordingly, like the Complaint, the Amended

Complaint “simply intone[s] that the federal antitrust statutes give them the right to sue, which of

course is beside the point for purposes of constitutional standing.” MTD Order at 1.

       The lone new fact in the Amended Complaint that is arguably relevant to standing is that

eight of the 24 plaintiffs have shopped at either a Kroger or Albertsons store in their “local

geographic areas.” Am. Compl. ¶¶ 104-107, 113. Not only does this suggest that two thirds of

Plaintiffs have not even shopped at a Kroger or Albertsons store (indeed, the Plaintiff in Florida

appears to live more than 300 miles from the closest Kroger or Albertsons store), the mere fact

that certain Plaintiffs at some point shopped at a Kroger or Albertsons store does not establish that

Plaintiffs have standing to bring the antitrust claims alleged here. To do so, each Plaintiff would

need to allege facts plausibly suggesting that the merger will actually and imminently cause them

particularized harm “in the area where they live and shop for groceries.” MTD Order at 1 (citing

Summers v. Earth Island Institute, 555 U.S. 488, 495-500 (2009)). Plaintiffs again make no effort

to do so.




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       Ripeness. In dismissing the Complaint, the Court noted that Plaintiffs’ claims were not yet

ripe because “the contours of the merger ha[d] not yet become clear enough to adequately assess

the effects it will have on competition.” MTD Order at 2. Even though the divestiture proposal

was announced weeks ago, Plaintiffs do not even attempt to consider the effect of the proposed

divestiture on the merits of their claims, instead arguing that “[p]ost-merger agreements evidence

. . . is not relevant to this case.” Am. Compl. ¶¶ 29. Given that the divestiture proposal remains

under government review, the contours of the ultimate divestiture package are still subject to

change. See MTD Order at 2 (recognizing that “the companies may agree to changes as a condition

of the Commission’s approval”). Because Plaintiffs do not consider the effect of the divestiture

on their claims and because that divestiture may still change, Plaintiffs’ claims continue to be

unripe. See MTD Order at 2 (citing S. Austin Coal. Cmty. Council v. SBC Comm’ns Inc., 191 F.3d

842, 844-45 (7th Cir. 1999)).

       Market Definition. The Amended Complaint offers no additional facts that would enable

the court to define a relevant antitrust market. Plaintiffs still fail to plausibly allege any local

market relevant to any Plaintiff. Plaintiffs continue to allege a national geographic market, which

as explained, is facially implausible. See Kroger’s Motion to Dismiss at 6-7 (ECF No. 40).

Plaintiffs state that “smaller local relevant geographic markets exist within individual states,” Am.

Compl. ¶ 74, but they do not attempt to define any such local markets. Rather, the only “facts”

that Plaintiffs offer about any local area are unsupported statistics purportedly showing the change

in market concentration in four metropolitan statistical areas (“MSAs”). Am. Compl. ¶¶ 101, 104-

107. But Plaintiffs do not allege that those MSAs are themselves relevant markets or plead any

facts supporting a conclusion that they are. Similarly, Plaintiffs still provide “no analysis of the




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other competitors” in their proposed market or any information on where those competitors are

located. MTD Hearing at 25, 43.

       Competitive Effects. The Amended Complaint also offers no additional facts that would

enable the Court to analyze the merger’s likely effects in any relevant market. Despite the Court’s

admonition, there are no allegations suggesting that Plaintiffs have done any of the “economic

analysis that needs to be done to state an antitrust claim.” MTD Hearing at 26. Plaintiffs again

provide no facts supporting a conclusion that competition would be substantially lessened in any

properly defined market. Plaintiffs do not attempt to do any economic analysis identifying the

harm to Plaintiffs resulting from the merger. And Plaintiffs do not even begin to address how the

proposed divestiture affects the analysis of the merger’s competitive effects. Instead, Plaintiffs

continue to offer rote, fact-free recitations of the bevy of harms purportedly flowing from the

merger.

       Special Dividend. Finally, the Amended Complaint continues to challenge Albertsons’

payment of a special dividend, Am. Compl. ¶ 2, but it does not assert a separate count or a violation

of the Sherman Act based on that payment, id. ¶¶ 140-55. Instead, Plaintiffs attempt to re-couch

the special dividend payment as an act as “in furtherance” of the proposed merger and thus, part

of their Clayton Act claim. Am. Compl. ¶¶ 140-155. This reframing is baseless. As multiple

courts have found, Albertsons’ decision to issue and pay a special dividend was an independent

decision; it was not “part of” the proposed merger. ECF No. 42-10 at 66; ECF No. 42-12 at 4, ¶

10. Indeed, aside from the conclusory statement that the special dividend was “made and

implemented in furtherance of defendants’ violation of Section 7,” id. ¶ 144, Plaintiffs provide no

explanation of how the special dividend is relevant to their Clayton Act claim. The few new




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allegations related to the special dividend that Plaintiffs shunt into their Amended Complaint are

wrong, unsupported, not credible, and have been considered and rejected by multiple courts.

       The Amended Complaint fails to cure Plaintiffs’ lack of standing to challenge Albertsons’

payment of a special dividend. See MTD Order at 1-2. Plaintiffs plead only conclusory statements,

Am. Compl. ¶¶ 60-61, 89, 147-155, and they again fail to allege facts about “Albertsons’s financial

strength before the dividend or how Albertsons has fared after” or any other facts relevant to

whether Plaintiffs face a substantial risk of harm flowing from that payment. MTD Order at 1-2.

This failure is unsurprising: as Albertsons previously explained, Albertsons continues to compete

vigorously and remains financially strong after paying the special dividend. See ECF No. 42 at

17-18; ECF No. 75 at 4-6.

       The Amended Complaint also fails to state a proper request for relief related to the special

dividend. In dismissing the Complaint, the Court stated that “[i]t’s difficult to see how the

plaintiffs could ever state a claim for disgorgement of the dividend payment.” MTD Order at 3.

They have not done so. Further, while Plaintiffs acknowledge that the special dividend “has now

in fact been paid,” id. ¶ 142, they continue to ask this Court to issue an order “permanently

enjoining Albertsons from making a Special Dividend payment,” id., Prayer for Relief ¶ E.

Plaintiffs’ request to enjoin Albertsons’ payment of the special dividend remains moot: Albertsons

paid the special dividend in January 2023, nearly two weeks before Plaintiffs filed the Complaint.

See ECF No. 42 at 6.

       In the Complaint, Plaintiffs “made no effort to provide . . . the analysis or the information

that a court would need to . . . make a determination as to whether an antitrust violation has

occurred” here or to “adequately explain how [the merger] is likely to harm competition.” MTD

Hearing at 26-27, 30. Given that the same fatal flaws that led this Court to dismiss the Complaint




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continue to be present in the Amended Complaint, Plaintiffs' request for discovery and a trial

schedule is – at best – premature. Moreover, contrary to Plaintiffs’ suggestion, Defendants Kroger

and Albertsons sent Plaintiffs the Hart-Scott-Rodino forms and documentary attachments related

to the merger (which were submitted to the FTC on November 3, 2022) over two months ago. In

light of Plaintiffs’ failure to even attempt to remedy their Complaint’s deficiencies, Defendants

respectfully submit that the Amended Complaint should now be dismissed with prejudice and

intend to promptly file a motion to that end.

CERBERUS’ SUPPLEMENTAL POSITION

       Plaintiffs have done nothing to correct the many deficiencies in their “tag-along” claim

against Defendant Cerberus. Conceding that they cannot plausibly allege a conspiracy in violation

of Section 1 of the Sherman Act, Plaintiffs have attempted to plead the same claim as part of an

alleged violation of Section 7 of the Clayton Act. Compare Compl. ¶¶ 80-89, with Am. Compl.

¶¶ 140-155. But there is no legal basis to challenge Cerberus’ receipt of the special dividend as a

violation of Section 7 “in furtherance” of the proposed Kroger-Albertsons merger, and there is no

factual basis for the claim as the dividend payment was made unilaterally by Albertsons and

independent of the merger. See supra at 8-9. Nor can Plaintiffs overcome controlling authority

holding that disgorgement of the special dividend is not an available remedy under Section 16 of

the Clayton Act. Neither California v. American Stores Co., 495 U.S. 271 (1990), nor any other

cases cited by Plaintiffs, have awarded disgorgement under that section. See also MTD Order at

2-3 (“It’s difficult to see how the plaintiffs could ever state a claim for disgorgement of the

dividend payment.”). For these reasons, and in the absence of any available remedy, Plaintiffs’

claim against Cerberus must be dismissed with prejudice.




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                                 SIGNATURE ATTESTATION

       I, Daniel B. Asimow, am the ECF user whose user ID and password are being utilized to

electronically file this JOINT STATUS REPORT. Pursuant to Local Rule 5-1(i)(3), I hereby attest

that the other signatories have concurred in this filing.


Dated: October 13, 2023

                                                       /s/ Daniel B. Asimow
                                                       Daniel B. Asimow




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